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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

UNITED STATES OF AMERICA,                 CR-16-47-BLG-SPW-CSO-02

            Plaintiff,
                                         FINDINGS AND
      vs.                                RECOMMENDATION OF
                                         U.S. MAGISTRATE JUDGE
TROY DEE WILSON,

            Defendant.

     The Defendant, by consent, appeared before me under Fed. R.

Crim. P. 11 and entered guilty pleas to Counts I and III of the

Indictment, which each charge the crime of Distribution of

Methamphetamine, in violation of 21 U.S.C. Section 841(a)(1). After

examining the Defendant under oath, the Court determined:

     1. That the Defendant is fully competent and capable of entering

an informed and voluntary plea to the criminal offenses charged

against her;

     2. That the Defendant is aware of the nature of the charges

against her and the consequences of pleading guilty to the charges;

     3. That the Defendant fully understands her pertinent

constitutional rights and the extent to which she is waiving those
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rights by pleading guilty to the criminal offenses charged against her;

and

      4. That her pleas of guilty to the criminal offenses charged

against her are knowingly and voluntarily entered, and are supported

by independent factual grounds sufficient to prove each of the essential

elements of the offenses charged.

      The Court further notes that Defendant entered the guilty pleas

without a written plea agreement. Counsel both represented that this

resolution was more favorable to Defendant than accepting the written

plea offer that would have required Defendant to waive her right to

appeal her sentences.

      Therefore, I recommend that the Defendant be adjudged guilty of

Counts I and III of the Indictment and that sentence be imposed.

      Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days after the filing of the

Findings and Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim.

P 59(b)(2).

      DATED this 9th Day of November, 2016.

                            /s/ Carolyn S. Ostby___________
                            United States Magistrate Judge
